361 F.2d 450
    In the Matter of Karl L. GRETZ, and Gabrielle W. Gretz, His Wife, Individually and Jointly, Bankrupts.P &amp; C Realty Co., Formerly Known as Esslinger's Inc., Appellants.
    No. 15756.
    United States Court of Appeals Third Circuit.
    Argued May 25, 1966.
    Decided June 8, 1966.
    
      Abraham L. Shapiro, Philadelphia, Pa. (Norman C. Henss, Cohen, Shapiro, Berger &amp; Cohen, Philadelphia, Pa., on the brief), for appellants.
      Lester J. Schaffer, Philadelphia, Pa. (Herman N. Silver, Philadelphia, Pa., on the brief), for appellees.
      Before KALODNER and HASTIE, Circuit Judges, and WRIGHT, District Judge.
      PER CURIAM:
    
    
      1
      In a bankruptcy proceeding the appellant has sought to make what is in essence a collateral attack upon a money judgment which the bankrupt recovered against it in a state court. The appellant's contention is that the state judgment resulted from perjured testimony. However, this issue was raised in the state trial court before judgment and again urged on appeal in the Pennsylvania Supreme Court. The state courts were not persuaded to withhold or vacate judgment. We agree with the district court that the same grounds which were urged unsuccessfully in the state court cannot be the basis of relief from the consequences of that judgment in the bankruptcy court.
    
    
      2
      The Order of the district court will be affirmed.
    
    